     Case 2:04-cr-00104-JAM-CMK Document 239 Filed 10/08/14 Page 1 of 5


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 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         No. 2:04-CR-0104-JAM-CMK
12                      Respondent,
13          v.                                         FINDINGS AND RECOMMENDATIONS
14   MARK STEVEN ERCKERT,
15                      Movant.
16

17          Movant, a federal prisoner proceeding pro se, brings this motion to correct or set aside a

18   criminal judgment pursuant to 28 U.S.C. § 2255. Pending before the court is movant’s motion

19   (Doc. 223) and respondent’s opposition (Doc. 228). Movant did not file a reply to respondent’s

20   opposition.

21                                            BACKGROUND

22          Following a jury trial, movant was convicted of conspiracy to manufacture, distribute, and

23   possess with the intent to distribute more than fifty grams of methamphetamine. Movant was

24   sentenced to 151 months in prison. The Ninth Circuit Court of Appeals affirmed movant’s

25   conviction on direct appeal, United States v. Erckert, 314 F. App’x 45 (9th Cir. 2008), and the

26   United States Supreme Court denied plaintiff’s petition for a writ of certiorari, Erckert v. United

27   States, 556 U.S. 1112 (2009). The underlying facts of movant’s crime are well-known to the

28   parties and the District Judge and, in any event, are not relevant to movant’s instant collateral
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     Case 2:04-cr-00104-JAM-CMK Document 239 Filed 10/08/14 Page 2 of 5


 1   challenge which raises a claim of ineffective assistance of counsel.
 2                                             DISCUSSION
 3          In his § 2255 motion, movant claims that counsel was ineffective because she failed to
 4   obtain a transcript of co-defendant Roberto Orantes’s detention hearing “and thus was unable to
 5   use Mr. Orantes’s prior falsehoods and fraudulent conduct to impeach his testimony” at movant’s
 6   jury trial (Doc 223). Respondent argues that movant cannot demonstrate either deficient
 7   performance of counsel or prejudice.
 8          I.      Standard
 9          The Sixth Amendment guarantees the effective assistance of counsel. The United States
10   Supreme Court set forth the test for demonstrating ineffective assistance of counsel in Strickland
11   v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). First, a petitioner must
12   show that, considering all the circumstances, counsel's performance fell below an objective
13   standard of reasonableness. See id. at 688. To this end, petitioner must identify the acts or
14   omissions that are alleged not to have been the result of reasonable professional judgment. See
15   id. at 690. The federal court must then determine whether, in light of all the circumstances, the
16   identified acts or omissions were outside the wide range of professional competent assistance.
17   See id. In making this determination, however, there is a strong presumption “that counsel's
18   conduct was within the wide range of reasonable assistance, and that he exercised acceptable
19   professional judgment in all significant decisions made.” Hughes v. Borg, 898 F.2d 695, 702 (9th
20   Cir. 1990) (citing Strickland, 466 U.S. at 689).
21          Second, a petitioner must affirmatively prove prejudice. See Strickland, 466 U.S. at 693.
22   Prejudice is found where “there is a reasonable probability that, but for counsel's unprofessional
23   errors, the result of the proceeding would have been different.” Id. at 694. A reasonable
24   probability is “a probability sufficient to undermine confidence in the outcome.” Id.; see also
25   Laboa v. Calderon, 224 F.3d 972, 981 (9th Cir. 2000).
26          II.     Objective Standard of Reasonableness
27          Movant fails to show that counsel’s performance fell below an objective standard of
28   reasonableness. First, the premise of movant’s argument is demonstrably false: contrary to
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     Case 2:04-cr-00104-JAM-CMK Document 239 Filed 10/08/14 Page 3 of 5


 1   movant’s contention that counsel failed to obtain a transcript of Orantes’s detention hearing, that
 2   transcript was in the docket nearly two years before movant’s trial (see Doc. 77). Second, movant
 3   does not identify any “specific instances of fraudulent or dishonest acts” in the transcript, or any
 4   information in the transcript that was not produced during counsel’s cross-examination of Orantes
 5   at movant’s trial.
 6           Third, even assuming that prosecutors thoroughly impeached Orantes’s credibility with
 7   specific instances of fraudulent and dishonest acts at the detention hearing—facts movant has
 8   alleged but not proved—the court finds no deficiency in counsel’s impeachment of Orantes at
 9   movant’s trial. The Ninth Circuit addressed an ineffective assistance of counsel claim within the
10   context of cross-examination of a government witness in Mancuso v. Olivarez, 292 F.3d 939 (9th
11   Cir. 2002). Mancuso had argued that counsel’s performance was deficient because counsel did
12   not use certain information to highlight the bias of a government witness. Mancuso, 292 F.3d at
13   955. The Ninth Circuit noted that counsel had used other information to impeach the witness, and
14   explained that “suggestions regarding how defense counsel might have handled [a] cross-
15   examination differently are insufficient to support an ineffective assistance of counsel claim.” Id.
16           Mancuso is on-point. Even assuming counsel did not make use of the specific instances
17   of fraudulent and dishonest acts allegedly contained in the transcript of Orantes’s detention
18   hearing, counsel used other information to impeach Orantes. During cross-examination, counsel
19   elicited from Orantes that he made his living selling methamphetamine and that he was testifying
20   pursuant to a plea bargain that could reduce his sentence by 50% (from a minimum of ten years
21   imprisonment to as low as five years) (Doc 228-6 at 27:15-17, 34:3-23). Movant’s single
22   suggestion on how counsel might have handled the cross-examination differently is insufficient to
23   support his ineffective assistance of counsel claim. See also Aquino v. Lopez, No. C 10-4413 SI
24   (pr), 2012 WL 5948913, at *9 (N.D. Cal. Nov. 28, 2012) (applying Mancuso and finding
25   “[b]ecause counsel effectively cross-examined [the government’s witness], the fact that she did
26   not ask him the specific questions that Aquino suggests does not mean that her performance was
27   deficient.”).
28   ///
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     Case 2:04-cr-00104-JAM-CMK Document 239 Filed 10/08/14 Page 4 of 5


 1          III.    Prejudice
 2          Furthermore, movant fails to allege—let alone affirmatively prove—prejudice. Again,
 3   counsel was successful in impeaching Orantes: during cross-examination Orantes confirmed that
 4   he made his living selling methamphetamine and that he was testifying pursuant to a plea bargain
 5   that could reduce his sentence by 50% (Doc 228-6 at 27: 15-17, 34: 3-23). Cf. Smith v. Adams,
 6   506 F. App’x 561, 564 (9th Cir. 2013) (“[T]rial counsel had already impeached [a government
 7   witness] by introducing several of his prior convictions at trial. The failure to take additional
 8   impeachment measures did not present a colorable claim of deficient performance, or prejudice,
 9   under Strickland.”), cert. denied, ___ U.S. ___, 133 S.Ct. 2003, 185 L.Ed.2d 872 (2013); Lester v.
10   Ayers, 267 F. App’x 725, 726 (9th Cir. 2008) (“Given this degree of successful impeachment, it is
11   clear that the additional impeachment urged by Lester would not have changed the result of the
12   proceedings.”).
13          Moreover, the government’s case against movant consisted of more than just Orantes’s
14   testimony. See Erckert, 314 F. App’x at 46 (citing the “strength of the government’s case” in
15   denying movant’s direct appeal). The testimony of two law enforcement officers, each of which
16   testified that movant volunteered incriminating statements on two separate occasions, is
17   particularly noteworthy. According to the officers, movant stated that he purchased one pound of
18   methamphetamine for $ 8,000 from his co-defendants for approximately six months; he also
19   allegedly recounted several instances in which he purchased a pound from his co-defendants
20   (Doc. 228-7 at 13:4-14:20; Doc. 228-8 at 3:13-10:1, 12:1-14:24). Movant has failed to overcome
21   this overwhelming evidence of guilt and affirmatively prove prejudice.
22                                             CONCLUSION
23          Based on the foregoing, the undersigned recommends that movant’s § 2255 motion (Doc.
24   223) be denied. A hearing pursuant to § 2255 (b) is unnecessary, as the files and records of the
25   case conclusively show that movant is not entitled to relief.
26          These findings and recommendations are submitted to the United States District Judge
27   assigned to the case, pursuant to the provisions of 28 U.S.C. § 636 (b)(l). Within fourteen days
28   after being served with these findings and recommendations, any party may file written
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     Case 2:04-cr-00104-JAM-CMK Document 239 Filed 10/08/14 Page 5 of 5


 1   objections with the court. Responses to objections shall be filed within fourteen days after
 2   service of objections. Failure to file objections within the specified time may waive the right to
 3   appeal. See Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).
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 5   Dated: October 7, 2014
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